       Case: 3:21-cr-00116-wmc Document #: 2 Filed: 11/17/21 Page 1 of 2


                                                                                                   ;Jor. I,! 0
                                                                                             ~.- .' ·1    T 11 F. 0
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN                          2021 t;O\J I 7 Pi 3: 48
                                                                                        -- r -  ·1 ,.                           ~

                                                                                        , L 1 Lf,L 1 t                 ..   L_t•
                                                                                   CL [ I~ ;-~ !Y:       1·' ' .       1    :   1 •: ,
UNITED STATES OF AMERICA                                     INDICTMENT                       I
                                                                                              ..   1r      '       I




              V.                                   CaseNo.    21          CR            11 6                       W
                                                                                                                   MC
                                                             18 U.S.C.    § 2113(a)
CODY WALKER-NELSON,                                          18 U.S.C.    § 924(c)
                                                             18 U.S.C.    § 922(g)(l)
                            Defendant.


THE GRAND JURY CHARGES:

                                         COUNTl

       On or about October 1, 2021, in the Western District of Wisconsin, the defendant,

                               CODY WALKER-NELSON,

knowingly attempted to take by force, violence, and intimidation, from the person and

presence of others, money belonging to and in the care, custody, control, management,

and possession of the Associated Bank, Superior, Wisconsin, the deposits of which were

then insured by the Federal Deposit Insurance Corporation.

       (In violation of Title 18, United States Code, Section 2113(a)).

                                         COUNT2

      On or about October 1, 2021, in the Western District of Wisconsin, the defendant,

                               CODY WALKER-NELSON,

knowingly and unlawfully used and brandished a firearm during and in relation to a

crime of violence for which he may be prosecuted in a court of the United States,




                                             1
       Case: 3:21-cr-00116-wmc Document #: 2 Filed: 11/17/21 Page 2 of 2




specifically, the attempted robbery of Associated Bank, in violation of 18 U.S.C.

§§ 2113(a), as alleged in Count 1 of this indictment.

       (In violation of Title 18, United States Code, Section 924(c)(1)).

                                         COUNT3

      On or about October 1, 2021, in the Western District of Wisconsin, the defendant,

                               CODY WALKER-NELSON,

knowing he had previously been convicted of an offense punishable by a term of

imprisonment exceeding one year, knowingly and unlawfully possessed in or affecting

commerce a Llama MAX-I .45 caliber handgun, Winchester model 70 .270 caliber rifle,

Remington model 700 .22-250 caliber rifle, Smith & Wesson model 5903 9mm handgun,

Anderson Manufacturing AM-15 rifle, Maverick model 8812-gauge shotgun, and Smith

& Wesson model 36 .38 caliber revolver, said firearms having previously traveled in

and affected interstate commerce.

             (In violation of Title 18, United States Code, Section 922(g)(1)).



                                          A TRUE BILL



                                          PRESIDING JUROR

                                          Indictment returned: \ \ · \l -~ \




                                             2
